UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                :
 SECURITIES AND EXCHANGE                                        :
 COMMISSION,                                                    :
                                                                :
                            Plaintiff,                          :
                                                                :
 vs.                                                            : Case No. 1:21-cv-11125 (LAK)
                                                                :
 MEDALLION FINANCIAL CORP.,                                     :
 ANDREW MURSTEIN,                                               : STIPULATION AND
 LAWRENCE MEYERS,                                               : [PROPOSED] ORDER
 and ICHABOD’S CRANIUM, INC.,                                   :
                                                                :
                            Defendants.                         :
                                                                :
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        Plaintiff Securities and Exchange Commission (“SEC”) and Defendants Medallion

Financial Corp. (“Medallion”), Andrew Murstein, Lawrence Meyers and Ichabod’s Cranium, Inc.

(together, “Defendants,” and with the SEC, “the Parties”), by and through their respective counsel,

having met and conferred, jointly submit this Stipulation and Proposed Order to extend the time

for the Parties to submit a proposed revised scheduling order, and in support thereof state as

follows:

        WHEREAS, on February 24, 2022, the Court entered a Scheduling Order (ECF No. 33,

“Original Scheduling Order”);

        WHEREAS, the Court entered an Order on August 25, 2022, temporarily staying discovery

and providing Defendants thirty (30) days from the date of the Court’s decision on Defendants’

Motions to Dismiss to file their respective Answers and directing the Parties to jointly submit a

proposed revised scheduling order to the Court within forty-five (45) days of that decision (Dkt.

ECF No. 91);



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       WHEREAS, the Court entered a Decision and Order on Defendants’ Motions to Dismiss

on September 18, 2024 (ECF No. 105);

       WHEREAS, the Court entered an Order on October 9, 2024, extending Defendants’

deadline to file their respective Answers to the Amended Complaint to November 15, 2024, and

extending the parties’ deadline to file a proposed revised scheduling order to December 6, 2024

(ECF No. 107);

       WHEREAS, Defendants Medallion and Andrew Murstein filed an Answer to the

Amended Complaint on November 15, 2024 (ECF No. 108);

       WHEREAS, the Court granted the Parties’ second request for an extension of the

deadline to file a proposed revised scheduling order until December 6, 2024 (ECF Nos. 110); and

       WHEREAS, the Court granted the Parties’ third request for an extension of time to

submit a proposed scheduling order to February 25, 2025 (ECF No. 112);

       WHEREAS, the Court granted the Parties’ fourth request for an extension of time to

submit a proposed scheduling order to March 28, 2025 (ECF No. 114);

       WHEREAS, on March 25 2025, the Court (1) adjourned the Parties’ time to submit a

proposed scheduling order; and (2) ordered the SEC to submit a status report to the Court by

April 25, 2025 if the SEC has not submitted proposed consent judgments as to Defendants to the

Court by that date (ECF No. 116);

       WHEREAS, on April 24, 2025, the SEC filed a proposed Stipulation and Order that

would permit the SEC to May 9, 2025, to provide another status report if the proposed consent

judgments have not been submitted to the Court by that date (ECF No. 121);




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       NOW, THEREFORE, in view of the settlement agreements in principle that have been

reached, the Parties hereby stipulate and agree that the SEC shall provide a status report by June

6, 2025, if the SEC has not submitted the proposed consent judgments to the Court by that date.




SO STIPULATED AND AGREED.

 U.S. SECURITIES & EXCHANGE                          KING & SPALDING LLP
 COMMISSION
 /s/ David Stoelting                                 /s/ Andrew Michaelson
 By:____________________________                     By:________________________
 David Stoelting                                     Andrew Michaelson
 Securities and Exchange Commission                  Mark Kirsch
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                                                     Andrew Murstein




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Ichabod’s Cranium, Inc.                    Attorneys for Medallion Financial Corp. and
                                           Andrew Murstein




SO ORDERED:
Dated: _____________                 ________________________________
                                     The Honorable Lewis A. Kaplan
                                     United States District Court Judge




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